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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )             No. 21-cr-444 (JEB)
                                                )
BRIAN MOCK,                                     )
                                                )
                          Defendant.            )
                                                )

             DEFENDANT’S MEMORANDUM IN AID OF RESENTENCING

        Defendant Brian Mock, through undersigned counsel, respectfully submits this

 Memorandum in Aid of Resentencing to supplement his memorandum originally submitted on

 January 12, 2024 (ECF:113). Mr. Mock reasserts the arguments and background provided in

 his January 2024 sentencing memo and adds the following developments in support of his

 request for an amended sentence of time served.

        I.      Supplemental Procedural History

       On July 12, 2023, after a bench trial, Mr. Mock was found guilty of various offenses

related to the events of January 6, 2021, including Obstruction of an Official Proceeding and

Aiding and Abetting, 18 U.S.C. §§ 1512(c)(2) and 2. On February 22, 2024, this Court

sentenced Mr. Mock to a total of 33 months’ imprisonment to be followed by 24 months of

supervised release.

       Before sentencing, the government and defense filed sentencing memoranda raising

numerous arguments — which Mr. Mock reasserts here and discusses further below — with

respect to how his Sentencing Guidelines should be calculated. Acknowledging that “there are

many disputes between the parties,” the Court at sentencing concluded, “I’m not going to resolve

them,” reasoning “the sentence I would give here would be the same regardless of how I
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resolved each of the guidelines disputes.” (2/22/24:28-29.) The Court explained, inter alia:

         So, for example, I believe that the offense level is at least 26 here, using a base
         level of 14, adding 8 for causing or threatening physical injury in regard to
         Officers Collins and Carlson, plus 6 for victim-related adjustment of 28. Even if
         you reduced two levels for 4C1.1, which I doubt you should, and even if you
         added zero for substantial interference with the administration of justice and zero
         for the obstruction of justice, and added nothing for grouping, you would still be
         at level 26, which would be 63 to 78 months.

(2/22/24:29 (emphasis added).) Recognizing that the government thought the applicable range

should be higher and Mr. Mock thought it should be lower, the Court asserted that the parties’

remaining disputes were essentially immaterial and thus, seemingly anchored its sentencing

analysis off of the 63-78 range, which appears to be the lowest calculation the Court was

prepared to accept. Despite this range, after a lengthy allocution by Mr. Mock and thoughtful

consideration by the Court, the Court chose a sentence of 33 months — a significant downward

departure from what the Court perceived to be the lowest potentially applicable Guidelines

range.

         On March 1, 2024, Mr. Mock filed a timely notice of appeal. During the pendency of his

appeal, on June 28, 2024, the Supreme Court decided Fischer v. United States, 144 S. Ct. 2176,

2190 (2024), holding that Section 1512(c)(2) requires proof that the defendant impaired or

attempted to impair “the availability or integrity for use in an official proceeding of records,

documents, objects, or . . . other things used in the proceeding.” After careful consideration of

the Supreme Court’s decision in Fischer, the government decided that it would not defend Mr.

Mock’s § 1512(c)(2) conviction on appeal nor would it pursue or otherwise defend that charge

on remand. Therefore, the parties agreed that the Court of Appeals should vacate Mr. Mock’s

conviction and sentence on Count One for violating 18 U.S.C. § 1512(c)(2) and remand to this

Court for further proceedings. On November 20, 2024, the D.C. Circuit vacated Mr. Mock’s


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§ 1512(c)(2) conviction and remanded to this Court, issuing its mandate the same day.

Thereafter, pursuant to the Circuit’s mandate, this Court scheduled an in-person resentencing

hearing for December 19, 2024, at 11:30 a.m. On December 9, 2024, the Court granted Mr.

Mock’s motion to appear virtually from prison. Mr. Mock has been incarcerated since April 25,

2024.

         II.     Resentencing Considerations

        In United States v. Blackson, 709 F.3d 36 (D.C. Cir. 2013), the D.C. Circuit discussed the

scope of a resentencing remand when a court of appeals vacates one count of a multi-count

conviction. The court set forth three categories of inquiry:

                First, . . . when this court vacates one count of a multi-count conviction,
        the district court on remand should begin by determining whether that count
        affected the overall sentence and, if so, should reconsider the original sentence it
        imposed. . . . Second, . . . the district court may also consider such new
        arguments or new facts as are made newly relevant by the court of appeals’
        decision—whether by the reasoning or by the result. . . . Third, the district court
        is further authorized to consider facts that did not exist at the time of the original
        sentencing: for example, in United States v. Rhodes we held that the district court
        could consider rehabilitation efforts that the defendant had undertaken since
        receiving his original sentence. 145 F.3d 1375, 1377–78 (D.C.Cir.1998)[.]

Id. (internal citations and quotation marks omitted). In accordance with Blackson, and in

addition to the arguments made in Mr. Mock’s original sentencing memorandum (which may be

newly relevant in the absence of Mr. Mock’s § 1512 conviction), Mr. Mock outlines below

several legal and factual developments in support of his request for a sentence of time served.

                 A. Legal Developments

        In addition to Fischer v. United States, 144 S. Ct. 2176 (2024), the following legal

developments are relevant to this Court’s resentencing analysis:

                    1. United States v. Brock, 94 F.4th 39 (D.C. Cir. 2024)

        Days after Mr. Mock’s sentencing, the D.C. Circuit decided United States v. Brock, 94

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F.4th 39, 51 (D.C. Cir. 2024), which held that the three-level Sentencing Guidelines

enhancement for “substantial interference with the administration of justice,” U.S.S.G.

§ 2J1.2(b)(2), “does not encompass Congress’s role in the electoral certification process” and

“does not extend to the unique congressional function of certifying electoral college votes.” This

holding also extends to the eight-level “administration of justice” enhancement found in

§ 2J1.2(b)(1)(B). The Circuit’s holding in Brock is significant here, as in explaining why it

believed Mr. Mock’s total offense level was “at least 26,” this Court made clear that the now-

invalidated eight-level enhancement under § 2J1.2(b)(1)(B) had been part of its bottom-line

analysis. 1 (See 2/22/24:29 (“I believe that the offense level is at least 26 here, using a base level

of 14, adding 8 for causing or threatening physical injury in regard to Officers Collins and

Carlson, plus 6 for victim-related adjustment of 28. Even if you reduced two levels for 4C1.1,

which I doubt you should, and even if you added zero for substantial interference with the

administration of justice and zero for the obstruction of justice, and added nothing for grouping,

you would still be at level 26, which would be 63 to 78 months.” (emphasis added)).) Without

§ 2J1.2(b)(1)(B)’s eight-level enhancement, the Court’s analysis as articulated would start at a

level 20 with a potential 2-level reduction under 4C1.1, resulting in a baseline range of 27-33

months. Thus, instead of imposing a sentence that was a significant downward departure from

what it thought was the lowest potentially applicable range of 63-78 months, the Court actually

imposed a sentence at the high end of the range that results from its stated analysis post Fischer

and Brock. Thus, assuming the Court still believes that a downward variance is warranted, it

must use a different Guidelines range to anchor its analysis at resentencing.


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  Even without Brock, the vacatur of Mr. Mock’s § 1512 conviction would erase
§ 2J1.2(b)(1)(B)’s eight-level enhancement because without § 1512, the § 2J1.2 guideline no
longer applies.
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                    2. United States v. Sargent, 103 F.4th 820 (D.C. Cir. 2024), and United
                       States v. Stevens, 105 F.4th 473 (D.C. Cir. 2024)

       In Sargent and Stevens, the D.C. Circuit held that the aggravated assault guideline,

U.S.S.G. § 2A2.2, had been appropriately applied to the defendants’ 18 U.S.C. § 111(a)(1)

convictions resulting from conduct related to the events of January 6, 2021, as both defendants

had also been convicted of committing civil disorder in violation of 18 U.S.C. § 231(a)(3). Like

the defendants in Sargent and Stevens, Mr. Mock had argued at his original sentencing that the

aggravated assault guideline should not apply and that this Court should instead use U.S.S.G.

§ 2A2.4, entitled “Obstructing or Impeding Officers.” Though Mr. Mock maintains his prior

position and preserves his argument here, he nevertheless acknowledges the Circuit’s holdings in

Sargent and Stevens and thus calculates his Sentencing Guidelines below pursuant to those

holdings.

                    3. Sentencing Guidelines

                        i.      Arguments

       Mr. Mock reasserts all of the Guidelines-related arguments set forth in his original

sentencing memorandum, including those related to any potential obstruction enhancement, the

application of § 3A1.2’s official victim enhancement, the application of the aggravated assault

guideline (see above), and his zero-point offender status. (ECF:113 at 7-12) As Mr. Mock

argued previously, even if this Court ultimately finds that certain guidelines/enhancements

technically apply, consideration of a downward variance is appropriate here in light of the

specific facts of this case, the Guidelines’ intent and historical application, as well as any

potential policy disagreements the Court may have.




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                                         ii.      Calculations

                                                  a. Without Official Victim Enhancement

              Without § 3A1.2’s official victim enhancement, the Total Offense Level post-Fischer

would be 18 and the resulting Guidelines range would be 27-33 months, assuming the

application of the aggravated assault guideline (§ 2A2.2).

                                                                                                     Highest
Count         Charge          Guideline Group   Calculation                             Total        of Group   Units
              1512
Count 1       (Congress)        2J1.2         1                                         /            /             /
              Civil Disorder,
              231(a)(3)                         10 (base OL)
              (USCP West                        + 3 (physical contact)
Count 2       Plaza)           2A2.4          2 =13                                             13 /               /
              Assaulting
              Officers,
              111(a)(1)
              (Officer Collins
              - contact
              (push/attempt                       14 (base OL)
Count 3       ed kick))          2A2.2          3 =14                                           14         14     1
              Assaulting
              Officers,
              111(a)(1)
              (Officer S.
              Karlsen -
              contact (shove                      14 (base OL)
Count 4       to ground))        2A2.2          4 =14                                           14         14     1
              Assaulting
              Officers,
              111(a)(1)
              (USCP West
              Plaza; contact
              (threw flag                         14 (base OL)
Count 5       pole))             2A2.2          2 =14                                           14         14     1
              Assaulting
              Officers,
              111(a)(1)
              (Unidentified
              Officer -
              contact                             14 (base OL)
Count 6       (shove))           2A2.2          5 =14                                           14         14     1
              Theft of Gov't
              Prop. (Two
Count 7       USCP shields)      2B1.1          6 6 (base OL)                                    6          6    0.5
              Entering/Rem
              aining                              4 (base OL)
              Restricted BG                       +2 (restricted building or grounds)
Count 8       (Congress)         2B2.3          1 =6                                             6          6    0.5
              Disorderly
              Conduct                             4 (base OL)
              Restricted BG                       +2 (restricted building or grounds)
Count 9       (Congress)         2B2.3          1 =6                                             6/                /
              Physical
              Violence
              Restricted BG                       4 (base OL)
              (USCP West                          +2 (restricted building or grounds)
Count 10      Plaza)             2B2.3          2 =6                                             6/                /
Count 11                         Misd.    N/A     N/A                                   /         /                /
Total Units                                                                                                     5 units


                                                                              6
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                                                b. With Official Victim Enhancement

              With § 3A1.2’s 6-point official victim enhancement, the Total Offense Level would be

24 and the resulting Guidelines range would be 51-63 months, assuming the application of the

aggravated assault guideline (§ 2A2.2).

                                                                                                       Highest
Count          Charge          Guideline Group   Calculation                             Total        of Group   Units
               1512
Count 1        (Congress)        2J1.2         1/                                        /               /          /
               Civil Disorder,
               231(a)(3)                         10 (base OL)
               (USCP West                        + 3 (physical contact)
Count 2        Plaza)           2A2.4          2 =13                                             13      /          /
               Assaulting
               Officers,
               111(a)(1)
               (Officer Collins
               - contact                           14 (base OL)
               (push/attempt                       +6 (3A1.2(c)(1) official victim)
Count 3        ed kick))          2A2.2          3 =20                                           20      20        1
               Assaulting
               Officers,
               111(a)(1)
               (Officer S.
               Karlsen -                           14 (base OL)
               contact (shove                      +6 (3A1.2(c)(1) official victim)
Count 4        to ground))        2A2.2          4 =20                                           20      20        1
               Assaulting
               Officers,
               111(a)(1)
               (USCP West
               Plaza; contact                      14 (base OL)
               (threw flag                         +6 (3A1.2(c)(1) official victim)
Count 5        pole))             2A2.2          2 =20                                           20      20        1
               Assaulting
               Officers,
               111(a)(1)
               (Unidentified
               Officer -                           14 (base OL)
               contact                             +6 (3A1.2(c)(1) official victim)
Count 6        (shove))           2A2.2          5 =20                                           20      20        1
               Theft of Gov't
               Prop. (Two
Count 7        USCP shields)      2B1.1          6 6 (base OL)                                   6       6         0
               Entering/Rem
               aining                              4 (base OL)
               Restricted BG                       +2 (restricted building or grounds)
Count 8        (Congress)         2B2.3          1 =6                                            6       6         0
               Disorderly
               Conduct                             4 (base OL)
               Restricted BG                       +2 (restricted building or grounds)
Count 9        (Congress)         2B2.3          1 =6                                            6       /          /
               Physical
               Violence
               Restricted BG                       4 (base OL)
               (USCP West                          +2 (restricted building or grounds)
Count 10       Plaza)             2B2.3          2 =6                                            6       /          /
Count 11                          Misd.   N/A      N/A                                   /               /          /
Total Units                                                                                                      4 units


                                                                            7
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                                                     c. Employing U.S.S.G. § 2A2.4 Instead of the Aggravated
                                                        Assault Guideline

              Employing U.S.S.G. § 2A2.4 (Obstructing or Impeding Officers) and without § 3A1.2’s

6-point official victim enhancement (which becomes legally inapplicable, see Stevens, 105 F.4th

at 475), the Total Offense Level would be 17 and the resulting Guidelines range would be 24-30

months.
                                                                                                     Highest
Count          Charge         Guideline Group   Calculation                             Total        of Group   Units
               1512
Count 1        (Congress)       2J1.2         1/                                        /            /             /
               Civil Disorder                   10 (base OL)
               (USCP West                       + 3 (physical contact)
Count 2        Plaza)          2A2.4          2 =13                                             13         13     1

               Assaulting
               Officers,
               111(a)(1)
               (Officer Collins
               - contact                          10 (base OL)
               (push/attempt                      + 3 (physical contact)
Count 3        ed kick))          2A2.4         3 =13                                           13         13     1

               Assaulting
               Officers,
               111(a)(1)
               (Officer S.
               Karlsen -                          10 (base OL)
               contact (shove                     + 3 (physical contact)
Count 4        to ground))        2A2.4         4 =13                                           13         13     1
               Assaulting
               Officers,
               111(a)(1)
               (USCP West
               Plaza; contact                     10 (base OL)
               (threw flag                        + 3 (physical contact)
Count 5        pole))             2A2.4         2 =13                                           13 /               /
               Assaulting
               Officers,
               111(a)(1)
               (Unidentified
               Officer -                          10 (base OL)
               contact                            + 3 (physical contact)
Count 6        (shove))           2A2.4         5 =13                                           13         13     1
               Theft of Gov't
               Prop. (Two
Count 7        USCP shields)      2B1.1         6 6 (base OL)                                    6          6    0.5
               Entering/Rem
               aining                             4 (base OL)
               Restricted BG                      +2 (restricted building or grounds)
Count 8        (Congress)         2B2.3         1 =6                                             6          6    0.5
               Disorderly
               Conduct                            4 (base OL)
               Restricted BG                      +2 (restricted building or grounds)
Count 9        (Congress)         2B2.3         1 =6                                             6/                /
               Physical
               Violence
               Restricted BG                      4 (base OL)
               (USCP West                         +2 (restricted building or grounds)
Count 10       Plaza)             2B2.3         2 =6                                             6/                /
Count 11                          Misd.   N/A     N/A                                   /         /                /
Total Units                                                                                                     5 units



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                               d. Guidelines Summary & Zero-Point Offender Status

       In his original sentencing memo (ECF:113 at 12-13), Mr. Mock asked the Court to

consider his zero-point offender status in light of then-recent amendments to the Sentencing

Guidelines. See U.S.S.G. § 4C1.1 (providing for a two-level decrease in the offense level for

offenders who have no criminal history points and who meet certain additional criteria). In light

of the fact that Mr. Mock’s offense occurred under the singularly unique circumstances of

January 6th, he is not likely to recidivate — one of the underlying motivations for § 4C1.1’s two-

point reduction — and thus respectfully maintains that the same justification suggests a variance

here even if the Court does not find that U.S.S.G. § 4C1.1 applies.

 Calculation              Total Offense Level        Guidelines Range       Range -2 w/ 4C1.1
 Without Official                  18                       27-33                  21-27
 Victim
 With Official Victim               24                     51-63                   41-51
 Using § 2A2.4                      17                     24-30                   18-24

                B. Factual Developments

       The defense wishes to highlight for the Court’s consideration several factual

developments since Mr. Mock’s February 2024 sentencing hearing, including his continued

remorse and rehabilitation. See Pepper v. United States, 562 U.S. 476, 481 (2011) (“We hold

that when a defendant’s sentence has been set aside on appeal, a district court at resentencing

may consider evidence of the defendant’s postsentencing rehabilitation and that such evidence

may, in appropriate cases, support a downward variance from the now-advisory Federal

Sentencing Guidelines range.”). Mr. Mock wishes to speak directly to the Court about his

rehabilitation. In addition to his words to the Court, the defense notes that Mr. Mock has been an

exemplary inmate at Sandstone FCI, where he has a clean disciplinary record, a job in the

recreation department since the moment he became eligible to work, and where he has taken


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several self-betterment classes.

          Significantly, Mr. Mock has also recently received a positive cancer screening, which

requires follow-up testing and potential treatment that he would like to undergo — if at all

possible — in a private setting instead of through BOP in light of the area of concern

(gastrointestinal/colon).

          Finally, the defense notes that as of November 6, 2024, Mr. Mock’s BOP sentencing

computation indicates that he has earned 75 days of First Step Act credits and has a home

detention eligibility date of March 25, 2025, and projected release date of July 2, 2025 (with

applied FSA credits). While Mr. Mock’s home detention eligibility date continues to move

closer as Mr. Mock continues to earn First Step Act credits, it is still just an “eligibility date,”

which does not need to be honored by the BOP. Had Mr. Mock been able to earn First Step Act

credit for his pre-sentence incarceration, he would be eligible for release even sooner. In light of

his positive cancer screening, as well as his post-sentence rehabilitation, Mr. Mock respectfully

requests that the Court sentence him to time served so that he may immediately undergo

additional testing and begin any necessary treatment while on release.

                                             Conclusion

          In light of the legal developments that affect the Guidelines range the Court used to

anchor its sentencing analysis, as well as Mr. Mock’s post-sentencing rehabilitation and positive

cancer screening, Mr. Mock respectfully requests that the Court amend his sentence to time

served.




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                               Respectfully submitted,

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                                        /s/

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